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8                           UNITED STATES DISTRICT COURT
9                         CENTRAL DISTRICT OF CALIFORNIA
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11    UNITED STATES, ex rel MATTY                 Case No. 2:21-cv-126-ODW (GJS)
      LIBATIQUE; FREDERICK BANKS,
12    next friend thereto,                         ORDER DISMISSING PETITION
13                  Petitioners
14            v.
15    POLAND; REPUBLIC OF
      POLAND; ZBIGNIEW ZIOBRO,
16    MINISTER OF JUSTICE &
      CENTRAL INTELLIGENCE
17    AGENCY; WARDEN SEKOY
      MAAT; U.S. DEPARTMENT OF
18    STATE,
19                  Respondents.
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21       On January 4, 2020, a putative 28 U.S.C. § 2241 habeas petition was filed in this
22   District [Dkt. 1, “Petition”] by Frederick Banks, a convicted federal criminal
23   currently incarcerated in the State of Louisiana at FCI-Oakdale and a frequent
24   litigant here and elsewhere. The Petition purports to be brought by both “United
25   States, ex rel Matty Libatique” and Banks, although Banks is the only signatory to
26   the Petition and mailed it from his present place of incarceration. The Petition
27   names as Respondents the country of Poland, the “republic of Poland,” someone
28   alleged to be the Minister of Justice (apparently of Poland), the Central Intelligence
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1    Agency (“CIA”), the apparent Warden of Banks’s custodial institution, and the U.S.
2    State Department.
3        The two-page Petition does not challenge a conviction or sentence, nor does it
4    challenge the manner in which Banks’s current criminal sentence is being executed.
5    Rather, the Petition is based on a 2018 incident that occurred in Poland involving
6    Matty Libatique. As news reports set forth and the Petition alleges, Libatique is a
7    well-known cinematographer who was believes he was drugged in Poland and when
8    paramedics arrived, he apparently struck out at one of them and thereafter was
9    charged with assault (although he subsequently returned to the United States, where
10   he remains released on bail). Banks does not allege that he had anything to do with
11   this incident or that he has ever met or communicated with Libatique. Banks sets
12   forth his oft-repeated refrain that the CIA uses microwave hearing technology to
13   control people, including through signal transmissions that originate in the Central
14   District of California. Although unclear, Banks appears to allege that the CIA,
15   through this technology, caused the above-described Libatique incident to happen as
16   well as caused Banks to suffer his current imprisonment. Banks also alludes to
17   unidentified “FISA warrants” that he claims were the source of the above-noted
18   Libatique incident and Banks’s own present custody. As relief, Banks states that
19   both he and Libatique seek to: have the FISA warrants disclosed and lifted; be
20   discharged from custody; have this case transferred to the Eastern District of
21   Louisiana if the Court declines to act; and have the Court recommend to Polish
22   authorities that the criminal case brought against Libatique be dismissed.
23       To resolve the Petition, the Court need not recount Banks’s prior criminal
24   history other than to take judicial notice, pursuant to Fed. R. Evid. 201, that in his
25   most recent criminal case, Banks was tried by jury in the United States District
26   Court for the Western District of Pennsylvania and was found guilty of multiple
27   federal counts of wire fraud and one federal count of aggravated identity theft on
28   November 8, 2019. Banks was sentenced on June 16, 2020, to consecutive terms of
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 1   80 months and 24 months imprisonment, to be followed by several years of
 2   supervised release. See Docket in Case No. 2:15-cr-00168 (W.D. Pa.). Banks is
 3   imprisoned at present pursuant to this federal conviction and sentence.
 4       Apart from his criminal status and related time spent in the federal criminal
 5   court system, Banks also is “a notorious frequent filer” in the federal civil court
 6   system, whose cases routinely are dismissed at the pleading stage as frivolous. See
 7   Banks v. Song, No. 1:17-cv-00339 (D. Haw. July 25, 2017) (Order Dismissing
 8   Action and Denying In Forma Pauperis Application); see also Banks v. Cuevas, No.
 9   4:17CV2460, 2018 WL 1942192, at *1 (N.D. Ohio April 25, 2018) (describing
10   Banks as a “frequent filer of frivolous actions in federal and state courts”); Banks v.
11   Song, No. 17-00093, 2018 WL 3130940, at *1-*2 (D. Guam Jun. 26, 2018) (finding
12   lawsuit filed by Banks related to his present criminal prosecution essentially was the
13   same suit that he had filed in a number of other Districts in the United States and
14   was “malicious” and improperly filed in the District of Guam); Banks v. New York
15   Police Dept., No. 4:15-CV-75-RLW, 2015 WL 1414828, at *2-*3 (E.D. Mo. Mar.
16   26, 2015) (dismissing as legally frivolous and malicious mandamus action brought
17   by Banks seeking relief based upon, inter alia, the deaths of Eric Garner and
18   Michael Brown).1 Pursuant to Fed. R. Evid. 201, the Court has taken judicial notice
19   of the case dockets and filings available through the PACER and Westlaw systems
20   relating to Banks, which show well over 1,000 federal civil proceedings initiated by
21   Banks over the past decade.
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            Banks also has filed a number of actions in this District that have been summarily
24   dismissed as frivolous. See Case Nos.: 2:15-cv-04225-ODW (GJSx); 2:16-cv-05544-JAK (KSx);
25   2:16-cv-07398-R (JPSx); 2:16-cv-07954-ODW (GJS); 2:17-cv-05412-GW (JPRx); 5:18-cv-
     00526-ODW (GJS); 5:19-cv-00780-ODW (GJS); 2:19-cv-06748-JAK (JC); 2:19-cv-07428-ODW
26   (GJS); 2:19-cv-08514-ODW (GJS); 2:19-cv-10468-ODW (GJS); 2:20-cv-00665-ODW (GJS);
     2:20-cv-00680-ODW (GJS); 2:20-cv-00979-ODW (GJS); 2:20-cv-01138-ODW (GJS); 2:20-cv-
27   03640-ODW (GJS); 2:20-cv-05579-ODW (GJS); 2:20-cv-06288-ODW (GJS); 2:20-cv-06919-
     ODW (GJS); 2:20-cv-07554-ODW (GJS); 2:20-cv-08191-ODW (GJS); 2:20-cv-08541-ODW
28   (GJS); and 2:20-cv-10769-ODW (GJS).
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 1       When federal courts began dismissing Banks’s civil cases under 28 U.S.C. §
 2   1915(g) due to his numerous “strikes,” he turned to filing 28 U.S.C. § 2241 or other
 3   types of petitions or motions in an attempt to avoid the Section 1915(g) limitation on
 4   filing actions without paying the filing fee. See Banks v. Valaluka, No. 1:15-cv-
 5   01935 (N.D. Ohio Nov. 18, 2015) (denying leave to proceed in forma pauperis and
 6   dismissing purported mandamus action).) As he has been described:
 7                Banks is a well-established, multi-district, frequent filer,
                  who has brought over 350 cases in the Northern District
 8                of Ohio, the District of Massachusetts, the Southern
                  District of Mississippi, the District of Columbia, the
 9                Southern District of New York, the Western District of
10                New York, the District of Colorado, the District of
                  Arizona, the Southern District of Florida, the Middle
11                District of Florida, the Eastern District of North Carolina,
                  the Middle and Western Districts of Pennsylvania, the
12                Eastern District of Missouri, the Eastern District of New
13                Jersey, the Eastern District of Arkansas, the Western
                  District of Oklahoma, the District of Utah, and the
14                District of Alaska. All of these cases were dismissed as
                  frivolous. He has been declared to be subject to three
15                strike provision of 28 U.S.C. § 1915(g) on numerous
                  occasions. Undeterred, Banks utilizes § 2241 to
16                circumvent the application of § 1915(g).
17   Banks v. Greene, No. 4:18-cv-0884, 2018 WL 4615938, at *1 n.1 (N.D. Ohio, Sept.
18   25, 2018).
19       In addition to the numerous findings that Banks’s case-initiating filings are
20   frivolous, Banks has been designated as a vexatious litigant. See, e.g., Banks v.
21   Pope Francis, No. 2:15-cv-01400 (W.D. Pa. Dec. 8, 2015) (Order designating
22   Petitioner as a vexatious litigant). That vexatious litigant designation has been
23   ordered extended to cover filings made by Banks on behalf of any other persons,
24   whether as a purported “next friend” or otherwise, unless and until he has complied
25   with the requirements of the original vexatious litigant designation order. See
26   United States v. Miller, 726 Fed. App’x 107 (June 7, 2018) (affirming district court
27   order so extending scope of vexatious litigant order entered against Banks).
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 1       As any review, no matter how cursory, of cases available through the PACER
 2   system shows, Banks has a long history of filing delusional and meritless actions on
 3   his own behalf or supposedly on behalf of others with whom he has no connection,
 4   often alleging some sort of mysterious electronic surveillance or use of
 5   “microwave” technology by the CIA. See, e.g., Banks v. United States, No. 19-CV-
 6   8829 (CM), 2019 WL 4933424, at *1 (S.D.N.Y. Oct. 7, 2019) (“Banks has a history
 7   of filing actions on behalf of others without their permission, either by using the
 8   ‘next friend’ device or by naming another individual as a co-plaintiff without that
 9   individual’s authorization”; and finding that Section 2241 petition brought by Banks
10   on the purported behalf of climate activist Greta Thunberg was a “continuation of
11   [his] pattern of vexatious, frivolous, and nonmeritorious litigation” that warranted
12   summary dismissal); Banks v. Crooked Hilary, No. 2:16-cv-07954 (C.D. Cal. Oct.
13   26, 2016) (Order denying leave to proceed in forma pauperis and discussing some
14   of the prior decisions finding Petitioner’s actions to be frivolous and delusional);
15   Schlemmer v. Central Intelligence Agency, No. 2:15-cv-01583 (W.D. Pa. Dec. 15,
16   2015) (Order dismissing with prejudice a Section 2241 habeas petition filed by
17   Banks as a purported “next friend” on behalf of a criminal defendant with whom he
18   had no relationship); Valaluka, supra (Order at 2: “Banks has not limited his
19   frivolous filings to cases he files in his own name, but has expanded his efforts by
20   filing cases and motions on behalf of other prisoners, often without their knowledge
21   or consent.”).
22       There is and can be no viable claim for habeas relief alleged in the Petition
23   based on its subject matter. To the extent that he seeks habeas relief on his own
24   behalf, Banks’s assertions that he is in custody due to the CIA’s use of microwave
25   hearing technology and a FISA warrant are factually and legally frivolous within the
26   meaning of Denton v. Hernandez, 504 U.S. 25, 32-22 (1989), and Neitzke v.
27   Williams, 490 U.S. 319, 325 (1989). Banks is in custody because he has been
28   convicted in a different federal District of multiple federal crimes and is serving his
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 1   related sentence in yet another different District, not because of any putative FISA
 2   warrant and/or electronic surveillance by the CIA. Banks is not in custody in this
 3   District for habeas or any other purposes. His allegations as to custody based on
 4   putative signal transmissions emanating from this District are specious and legally
 5   unavailing. See Banks v. Canada, No. 9:20-CV-0064 (LEK), 2020 WL 1689859, at
 6   *2 (N.D.N.Y. April 7, 2020) (dismissing Section 2241 petition brought by Banks
 7   raising the same allegations he has made in prior cases brought here and finding his
 8   allegation that the CIA’s alleged electronic signal originated in the district
 9   insufficient to confer jurisdiction in the district, given that his district of
10   confinement was elsewhere).
11       Banks has been told time after time that his various “habeas” actions motivated
12   by news events involving others do not belong in this District. Moreover, as Banks
13   also has been told over and over again, he has no right to purport to represent
14   anyone else in legal proceedings. Generally, non-lawyers may not represent other
15   persons in court. See, e.g., Simon v. Hartford Life, Inc., 546 F.3d 661, 664 (9th Cir.
16   2008) (“courts have routinely adhered to the general rule prohibiting pro se plaintiffs
17   from pursuing claims on behalf of others in a representative capacity”); Collinsgru
18   v. Palmyra Bd. Of Educ., 161 F.3d 225, 232 (3rd Cir. 1998). 28 U.S.C. § 1654
19   permits persons to appear on a pro se basis only in their “own cases personally.”
20   See Shephard v. Wellman, 313 F.3d 963, 970 (6th Cir. 2002). Local Rule 83-2.10.2
21   expressly prohibits a pro se litigant from delegating his representation to any other
22   person. Because Banks is not a lawyer authorized to practice in this Court, he may
23   not pursue relief on behalf of anyone else here. See C.E. Pope Equity Trust v.
24   United States, 818 F.2d 696, 697 (9th Cir. 1987) (a layperson acting in pro per may
25   not appear or seek relief on behalf of others); see also Banks as next friend of
26   Waymer v. Eddy, 801 Fed. App’x 50 (3rd Cir. April 14, 2020) (affirming dismissal
27   of Section 2241 petition brought by Banks on behalf of others and finding that not
28   only did Banks lack standing to seek relief on behalf of others as a next friend, but
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 1   that “as a layperson, Banks cannot represent other parties,” even if he is purporting
 2   to act as a next friend); Banks v. NPR New Morning Edition, 795 Fed. App’x 92 (3rd
 3   Cir. Feb. 25, 2020) (affirming dismissal of Section 2241 petition brought by Bank
 4   on behalf of Anthony Bourdain and finding that “Banks cannot litigate on behalf of
 5   Bourdain or his estate”).
 6       Banks’s assertion that he may act as the “next friend” of Libatique is patently
 7   frivolous, if not sanctionable under Fed. R. Civ. P. 11. Banks has been told many
 8   time that he may not act as a “next friend” to people who do not know him and who
 9   have nothing to do with him, and yet he persists. There are two “‘firmly rooted
10   prerequisites’” that must be met before a next friend can be appointed: (1) the
11   putative next friend must provide an adequate explanation, such as mental
12   incompetence or other disability, regarding why the real party in interest cannot
13   appear on his own behalf; and (2) the putative next friend must be “‘truly dedicated
14   to the best interests of the person on whose behalf he seeks to litigate,’” which
15   requires the existence of a “‘significant relationship’” between the two persons.
16   Dennis ex rel. Butko v. Budge, 378 F.3d 880, 888 (9th Cir. 2004) (citation omitted).
17   The burden of establishing these two requirements is on the putative next friend.
18   Whitmore v. Arkansas, 495 U.S. 149, 164 (1990). Because the standing of a next
19   friend is a jurisdictional issue, the Court lacks jurisdiction if these requirements are
20   not satisfied. Id.; see also Dennis, 378 F.3d at 888 n.5.
21       The Petition fails entirely to satisfy these requirements. Banks does not state
22   any reason why he is entitled to act as the “next friend” of Libatique and there is no
23   rational reason to believe that any exists. If Libatique needs to take any legal action
24   in the federal courts, he can retain a competent lawyer to represent him; a pro se
25   convicted criminal who Libatique does not even know cannot do so, much less
26   without Libatique’s knowledge or agreement. The second Whitmore requirement
27   also plainly is not, and cannot be, satisfied. There is no evidence before the Court
28   indicating that Banks has a “significant relationship” with Libatique, much less that
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 1   Banks is truly dedicated to his interests. Rather, the Petition plainly shows that,
 2   once again, Banks seeks to parasitically attach himself to a stranger’s unfortunate
 3   event as a supposed means for Banks to pursue federal habeas relief for himself. As
 4   Banks has been told repeatedly, he may not do so.
 5       If Banks wishes to challenge his present criminal custody, there are established
 6   avenues for him to do so, but none of them include bringing repeated and frivolous
 7   28 U.S.C. § 2241 or other civil actions outside of the District of conviction based on
 8   matters having nothing to do with his present conviction and/or sentence. The
 9   matters alleged in the Petition simply do not involve situations in which Section
10   2241 federal habeas jurisdiction or any other basis for federal jurisdiction properly
11   can be invoked, much less in a District having nothing to do with him or the matters
12   of which he complains.
13      Accordingly, IT IS ORDERED that: the Petition is dismissed for lack of
14   jurisdiction; and Judgment shall be entered dismissing this action.
15
16   DATED: January 12, 2021
17                                           _______________________________
                                             OTIS D. WRIGHT, II
18                                           UNITED STATES DISTRICT JUDGE
19   Submitted by:
20
21   ___________________________________
22   GAIL J. STANDISH
     UNITED STATES MAGISTRATE JUDGE
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